Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1693 Filed 07/01/16 Page 1 of 29




                       THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

Newell Rubbermaid Inc.,               )
                                      )
              Plaintiff,              )   Civil Action No. 1-cv-15-00597-RJJ
                                      )
       v.                             )   NEWELL’S MEMORANDUM IN
                                      )   SUPPORT OF ITS MOTION FOR
Kirsch Lofts, LLC,                    )   SUMMARY JUDGMENT ON
                                      )   DEFENDANT’S COUNTERCLAIM
              Defendants.
                                      )
                                          ORAL ARGUMENT REQUESTED
     Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1694 Filed 07/01/16 Page 2 of 29


                                                 TABLE OF CONTENTS

                                                                                                                                     Page


I.       PRELIMINARY STATEMENT .................................................................................... 1
II.      FACTUAL AND PROCEDURAL BACKGROUND ................................................... 2
         A.        Kirsch Knew the Property was Contaminated and Bought it Anyway .................. 2
         B.        Post-Purchase Environmental Testing ................................................................... 4
         C.        The Development Project and Access Negotiations .............................................. 6
         D.        Kirsch’s Claimed Damages Exceed the Value of the Property and its
                   Proposed Development Is Unlikely To Succeed ................................................... 6
         E.        Kirsch’s Alleged Losses Far Exceed the Property’s Value and What is
                   Recoverable Under Michigan Law ........................................................................ 8
III.     ARGUMENT .................................................................................................................. 10
         A.        Standard of Review .............................................................................................. 10
         B.        The Access Statute’s Remedies are Equitable, Not Legal ................................... 11
         C.        Equity Precludes Granting Kirsch “Compensation” Stemming from
                   Foreseeable Problems .......................................................................................... 11
         D.        Kirsch’s “Interpretation” of the Access Statute Fundamentally Alters Its
                   Meaning ............................................................................................................... 13
                   1.         A plain reading Section 324.20135a(1) supports that Kirsch’s
                              claims are outside the scope of permissible compensation ...................... 14
                   2.         The context in which Section 324.20135a(1) was enacted likewise
                              renders Kirsch’s claimed damages outside those which are
                              available ................................................................................................... 17
         E.        Kirsch’s Alleged Lost Profits and Incentives Damages Are Too
                   Speculative to be Awarded as a Matter of Law ................................................... 19
         F.        The Court Should Enter Judgment in Newell’s Favor Because Kirsch Has
                   Failed to Present Any Evidence of Recoverable Damages .................................. 24
IV.      CONCLUSION .............................................................................................................. 25




                                                                   -i-
  Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1695 Filed 07/01/16 Page 3 of 29

                                              TABLE OF AUTHORITIES

                                                                                                                               Page



Cases

Bayley Prods., Inc. v. Am. Plastic Prods. Co.,
  30 Mich. App. 590, 598 (1971) ................................................................................................ 18

Bennett v. City of Eastpointe,
  410 F.3d 810, 817 (6th Cir. 2005) ............................................................................................ 10

Blunt v. Brown,
  37 N.W.2d 671, 673 (Mich. 1949) ............................................................................................ 12

Bonelli v. Volkswagen ,
  166 Mich. App. 483, 511 (1988)............................................................................................... 19

Booker v. Ralston Purina Co.,
  699 F.2d 334, 336 (6th Cir. 1983) ............................................................................................ 20

Chauffeurs, Teamsters & Helpers, Local No. 391 v. Terry,
  494 U.S. 558, 570 (1990) .......................................................................................................... 11

City of Lansing v. Twp. of Lansing,
  97 N.W.2d 804, 809 (Mich. 1959) ............................................................................................ 14

Conn. Nat'l Bank v. Germain,
  503 U.S. 249, 254 (1992) .......................................................................................................... 15

Dehna v. Jacob,
  179 Mich. App. 545, 549 (1989)............................................................................................... 19

Feld v. Robert & Charles Beauty Salon,
  435 Mich. 352, 362 (1990) ....................................................................................................... 15

Ford Motor Co. v. Woodhaven,
  475 Mich. 425, 438, 716 N.W.2d 247 (2006) ........................................................................... 14

Fredonia Farms, LLC v. Enbridge Energy Partners, L.P.,
  No. 12-CV-1005, 2014 WL 3573723 (W.D. Mich. July 18, 2014) .............................. 19, 20, 22

Hoerstman Gen. Contracting Inc. v. Hahn,
  474 Mich. 66, 74 (2006) ........................................................................................................... 15

Joerger v. Gordon Food Serv., Inc.,
  568 N.W.2d 365, 369-70 (Mich. App. 1997)............................................................................ 20

                                                                   i
  Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1696 Filed 07/01/16 Page 4 of 29

                                                TABLE OF AUTHORITIES

                                                                                                                                     Page



Kent v. Klein,
  91 N.W.2d 11, 13-14 (Mich. 1958). ......................................................................................... 12

Kratze v. Indep. Order of Oddfellows,
  Garden City Lodge No. 11,
  442 Mich. 136 (1993) ................................................................................................... 18, 19, 21

Manuel v. Gill,
 481 Mich. 637, 647-48 (2008) .................................................................................................. 11

Murray v. Wolverine Pipe Line Co.,
 No. 257121, 2005 WL 3556148 (Mich. Ct. App. Dec. 29, 2005) ....................................... 19,22

Nation v. W.D.E. Elec. Co.,
  454 Mich. 489, 504 (1997) ....................................................................................................... 17

Robinson v. City of Lansing,
  486 Mich. 1, 21 (2010) ............................................................................................................. 17

SEC v. Quinlan,
  373 F. App’x 581, 587 (6th Cir. 2010) ..................................................................................... 11

Szymanski v. Brown,
  221 Mich. App. 423, 430-31, 562 N.W.2d 212, 216 (1997)..................................................... 19

Waltz v. Wyse,
 460 Mich. 642, 665-66 (2004) .................................................................................................. 16

Wheaton v. McCarthy,
 800 F.3d 282, 287 (6th Cir. 2015) ............................................................................................ 16

Other Authorities

MCL § 324.20135a ............................................................................................ 1, 9, 11, 13, 14, 17

Sands, Sutherland Statutory Construction
  [4th ed.] § 47.24 ........................................................................................................................ 15




                                                                      ii
     Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1697 Filed 07/01/16 Page 5 of 29




         Newell Brands Inc. f/k/a Newell Rubbermaid Inc. (“Newell”) submits this Memorandum

in Support of its Motion for Summary Judgment.

I.       PRELIMINARY STATEMENT

         Defendant Kirsch Lofts, LLC (“Kirsch”) seeks damages under the Michigan statute,

Mich. Comp. Law § 324.20135(a)(1)(a) (the “Access Statute”).1 Kirsch claims lost profits, lost

tax credits, lost incentives, carrying costs, and lost return on investment under the Access Statute,

which allows only compensation to the land owner “for damages related to the granting of

access to the property . . . . ” Mich. Comp. Laws § 324.20135a(1)(a) (emphasis added).

         As set forth more fully below, Kirsch is not entitled to an award of damages for at least

three main reasons: First, the Access Statute does not provide for recovery of damages from just

any cause. Rather, by its plain terms, it allows only for compensation resulting from the Court’s

order allowing an invasion of Kirsch’s possessory interest. Kirsch has not presented any

evidence that its alleged injury resulted from the Court’s 2015 order allowing Newell to access

the Property. Second, there is no disputed issue of fact that the injury of which Kirsch complains

results from a risk it voluntarily assumed. The Access Statute’s remedies, being equitable in

nature, should not respond in instance where the “injured” party could have foreseen the risk of

harm. Third, even if the Kirsch theory of damages could fit within the statute, the damages it

claims are too speculative and therefore not recoverable. Accordingly, judgment should be

entered in Newell’s favor on Kirsch’s counterclaim. If the Court decides that Kirsch is entitled

to compensation, then the Court should enter an order providing for phased compensation (to be

paid as access occurs) for an amount totaling $72,964.


1
         See infra at 8-10.



                                                  1
  Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1698 Filed 07/01/16 Page 6 of 29




II.    FACTUAL AND PROCEDURAL BACKGROUND

       A.      Kirsch Knew the Property was Contaminated and Bought it Anyway.

       The Property is a portion of a former Cooper Industries facility located in Sturgis,

Michigan. The facility was operated by the Kirsch Division of Cooper Industries and was known

as Kirsch Plant No. 1. See ECF No. 1 ¶ 1. The Kirsch Plant No. 1 was divided by Prospect

Street into two parcels. The Property is the western parcel and has a street address of 308 N.

Prospect Street. The eastern parcel has a street address of 309 N. Prospect Street. The former

Kirsch Plant No. 1 is a federal Superfund site listed on the EPA’s National Priorities List

(“NPL”). See ECF No. 1 ¶ 34; ECF No. 8 ¶ 34.

        Kirsch acquired the Property on July 10, 2009 with a plan to redevelop the Property into

mixed residential and commercial development. ECF No. 1 ¶ 33; ECF No. 8 ¶ 33. Kirsch knew

when it bought the Property that it was on a federal Superfund site. ECF No. 1 ¶ 34; ECF No. 8

¶ 34. Kirsch also had done enough due diligence to establish that the Property was

contaminated, thus qualifying it as a “facility” under state law, and as such, a brownfield site

which qualified it for Brownfield Redevelopment Grants and Loans, as well as favorable tax

treatment. See Ex. A, Scott Bosgraaf Apr. 13, 2016 Dep. Tr. (“Bosgraaf Day 1”) at 38:12-14

(“we found enough contamination to determine it to be a facility so I could go after my

Brownfield credits that I needed.”); id. at 50:18-20 (“I think that we all knew that there was

obviously soil contamination . . . which it needed to be in my world.”).

       The pre-acquisition due diligence testing, however, also showed that the soils on the

Property were significantly contaminated to a degree that would require additional testing and

remediation. The majority of the soil samples analyzed by ERE (Kirsch’s first environmental

due diligence consultant) exceeded the cleanup level for TCE, a primary chemical of concern at


                                                 2
    Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1699 Filed 07/01/16 Page 7 of 29




the Sturgis NPL site. Ex. C, Mark Westra Dep. Tr. (“Westra Dep.”) at 59:10-18.2 The ERE

testing reported a value for TCE of 14,000 ppb, a result that was an order of magnitude higher

than any other sample ever collected on the site, including the testing done by the Michigan

Department of Environmental Quality (“MDEQ”) in the early days of the Superfund project. Id.

at 59:23:60-1; Ex. D, Expert Rep. of Scott Hayter (“Hayter Rep.”) at 3.

        Rose & Westra was retained by Kirsch to replace ERE, and reviewed the ERE pre-

acquisition test results. Ex. C, Westra Dep. at 55:16-19; 56:12-15. Rose & Westra conducted its

own testing of the site soils on the Property prior to Kirsch’s acquisition of the Property. Id. at

61:19-62:2. Seven of the ten initial samples collected by Rose & Westra likewise exceeded the

Superfund cleanup level, with six of the samples exceeding the relevant cleanup level by a factor

of ten. Id. at 63:15-64:1. The testing done by Kirsch’s consultants revealed significant soil

contamination, but did not fully define the lateral or vertical extent of contamination on the

Kirsch Property. Id. at 64:8-12; 70:12-20. Kirsch’s consultant understood – prior to Kirsch’s

acquisition of the Property – that significant additional testing and data evaluation would be

necessary, followed by remediation activity as part of the Superfund remedy. See Ex. C, Westra

Dep. at 79:7-9; 80:23-25; 82:18-83:1; 85:6-14; 89:20-23.3



2
       Newell understands that Kirsch intends to present Arthur Siegal, Mark Westra and Scott
Bosgraaf as expert witnesses with respect to various topics. Newell does not concede, and
reserves the right to contest, the admissibly of Siegal’s, Westra’s and Bosgraaf’s testimony under
Fed. R. Evid. 702.
3
         Newell’s pursuit of documents related to this topic has been catalogued elsewhere, most
recently in its Motion to Compel Production filed yesterday. Summarized here, Kirsch retained
Rose & Westra to perform pre-closing investigation and diligence and, represented in litigation
that all such documents had been produced. See ECF No. 79-2 ¶ 7. Westra, in turn, testified that
he maintained a file about the site and it had not been collected or produced. Id. Likewise, the
law firm of Warner Norcross & Judd LLP advised Kirsch on various issues. See, e.g., Ex. A,
Bosgraaf Day 1 at 12:12-17. Kirsch testified that its consultants and attorneys had conversations
with regulators that to which Scott Bosgraaf was not a party. See id.; see also id. at 40:18-41:25.
                                                 3
  Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1700 Filed 07/01/16 Page 8 of 29




       Despite the results of the environmental testing indicating that there was significant soil

contamination that would require additional testing and remediation under the Superfund

process, Kirsch closed on its purchase of the Property on July 10, 2009. There is no dispute that

Kirsch possessed sufficient information prior to closing to determine that the soil contamination

detected on the Property would require significant and lengthy response actions under CERCLA.

Ex. D, Hayter Rep. at 5; Ex. A, Bosgraaf Day 1 at 38:8-10; 39:18-24; 124:14-20;162:4-9.

       B.      Post-Purchase Environmental Testing.

       After acquiring the Property in July 2009, Kirsch submitted a Baseline Environmental

Assessment (“BEA”) prepared by Rose & Westra in fall 2009 to the MDEQ. The BEA was

dated September 4, 2009, but was not submitted to the MDEQ until late October 2009. See

Westra Dep. at 66:7-14, The BEA submitted all of the pre-acquisition soil test data that Kirsch

collected during due diligence. Ex. C, Westra Dep. at 68:10-19; Ex. E, Baseline Environmental

Assessment. The data showed the soil contamination exceeded Michigan Part 201 objectives for

the pathway of Residential Drinking Water Protection. See supra at 2-4; see also Ex. D, Hayter

Rep. at 4.

       In early 2010, the MDEQ asked Newell to conduct an expanded soil investigation to

determine the full extent of contamination above remediation standards. ECF No. 1 ¶ 43; ECF

No. 8 ¶43; Hayter at 4. Kirsch allowed Newell access to conduct the expanded soil

investigation. See ECF No. 1 ¶ 48, ECF No. 8 ¶ 48; Ex. F, David Meiri June 3, 2016 Dep Tr.

(“Meiri Day 1”), at 23:1-10, 26:20-23.



Other than a stray comment in Kirsch’s deposition that John Byl had advised it “early on . . . that
Newell [] will decide when you’re going to build the project, and it may be with no delay and it
may be a long time,” id. at 162:4-9, Newell has been deprived of any opportunity to
meaningfully understand what Kirsch knew about site conditions and when.

                                                 4
  Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1701 Filed 07/01/16 Page 9 of 29




       Based on the results of the 2010 testing, on April 14, 2011 MDEQ issued a Notice of

Additional Response Activities, which required that Newell submit a plan for addressing the

newly discovered conditions. See Ex. H, Notice of Additional Response Activities, Ex. F, Meiri

Day 1 at 87:19-88:9. MDEQ approved Newell’s plan in September 2012. Id. at 88:5-9; 98:2-14;

98:23-99:18. The first step in the MDEQ-approved plan was to design a leachate study that

could support the development of alternative cleanup criteria for TCE in soils. See Ex. I, Aug.

22, 2012 Revised Plan For Additional Response Activities, at DEQ0000529. MDEQ approved

the leachate study work plan in 2013. See Ex.J, May 8, 2013 MDEQ Approval of Revised Plan

for Soil Leach Testing in the Former Kirsch Plant No. 1 Source Area. Kirsch and Newell

entered into an access agreement allowing access to conduct the leachate study data collection.

See ECF No. 8 ¶ 60.

       The final leachate study report was submitted to MDEQ in November 2015. See Ex. K,

Nov. 9, 2015 URS – Final Leach Testing Report, Former Kirsch Plant No. 1 Source Area,

Sturgis Municipal Well Field, Superfund Site, Sturgis Michigan; see also Ex. G, David Meiri

June 9, 2016 Dep. Tr. (“Meiri Day 2”) at 178: 4-15. Thereafter, MDEQ tentatively approved

alternative cleanup objectives for the site. Id. at 178:20-25.

       C.      The Development Project and Access Negotiations.

       Kirsch commenced work on the development project in 2009. Ex B, Scott Bosgraaf June

9, 2013 Dep. Tr. (“Bosgraaf Day 2”) at 58:20-59:8. Kirsch stopped its construction on the

Property by September 2010. ECF No. 1 ¶ 44; ECF No. 8 ¶ 44; Ex. A, Bosgraaf Day 1 at

101:14-103:02.

       While Kirsch had allowed Newell access to the Property on two occasions in 2010 to

conduct the comprehensive soil investigation, in January 2011 Kirsch notified Newell that it


                                                  5
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1702 Filed 07/01/16 Page 10 of 29




would no longer allow access to the Property, except for access granted under a 1998 easement.

ECF No. 1 ¶ 48; ECF No. 8 ¶ 48. Newell tried to negotiate with Kirsch for access while it

continued working with the MDEQ on its plan for additional response activities. See ECF No. 8

¶¶ 48-50.

       As noted above, in 2013, the parties entered into a limited access agreement allowing for

testing to support the leachate study, the compensation for which is subject to a confidentiality

clause. ECF No. 1 ¶¶ 49, 52-68; ECF No. 8 ¶¶ 49, 52-68. But after years of trying to negotiate a

global access agreement, the parties remained far apart, with Newell offering to pay for access in

an amount tied to the value of the Property, and Kirsch demanding compensation for its lost

business opportunity, including lost investment and carrying costs, similar to the categories of

damages it now claims in this action. See ECF No. 1 Ex. P; ECF No. 8 ¶¶ 65-68.

       Newell filed its Complaint in 2015, seeking a court order for access to perform its

government-mandated remediation activities. ECF No. 1. The parties stipulated to an order

granting Newell access to the Property, which the Court entered on September 8, 2015. ECF No.

20.

       D.      Kirsch’s Claimed Damages Exceed the Value of the Property and its
               Proposed Development Is Unlikely To Succeed.

       Kirsch’s claims are premised on the assumption that it could have successfully completed

the proposed development plan – a plan that is entirely inconsistent with the needs of the

community and is unlikely to succeed. Kirsch’s proposed development would occur in three

phases: (1) Residential; (2) commercial space; and (3) more residential. Ex. L, Expert Report of

Jeffrey Genzink (“Genzink Rep.”) at 23. Kirsch proposed building 35 to 50 condominiums on

the Property and selling those units for, on average, $125,000. Id. at 30; see also Ex. M, Kirsch

Lofts, LLC Brownfield Redevelopment MBT Credit Application, at KIRSCHLOFTS000814.

                                                 6
    Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1703 Filed 07/01/16 Page 11 of 29




         Newell retained Jeffrey Genzink (“Genzink”), a professional appraiser, to evaluate

Kirsch’s proposed development plans. His unrebutted conclusions include:

     •   The population of Sturgis is 11,007 and the median income is $36,444 (Genzink Rep. at
         25);

     •   There is minimal demand for condominiums in Sturgis, comparable condominium units
         in Sturgis sell for prices ranging from $12,000 to $39,000, and the median sales price of
         single family residences in Sturgis is $67,000 (Id. at 30);

     •   The population, a primary driver of housing demand, is unlikely to grow significantly
         (Id.); and

     •   The highest and best use of the Property “is to hold for future redevelopment.” (Id. at 39-
         40).

         Beyond this, Kirsch’s claimed losses are far more than the Property is currently worth or

will likely be worth in the future, even if the development was finished as proposed. Compare

Ex. L, Genzink Rep. at 45 with Ex. P, Kirsch’s Third Suppl. 26(A) Disclosures (“Third Suppl.

Disclosures”).

         Kirsch’s claimed losses also greatly exceed what could be reasonably claimed as

compensation for Newell’s access to the Property for environmental remediation. Kirsch paid

$57,544.25 for the Property in 2009. Ex. L, Genzink Rep. at 7. The building on the Property is

an approximately 103,337-square-foot “shell” without interior finish, windows, heating/cooling,

plumbing fixtures or electrical fixtures. Id. at 18. The “market value” of the Property, using the

“sales comparison approach”4 is $390,000. Id. at 45.

         Based on the market value of the Property, a reasonable estimate of the compensation for

a license for Newell to access the Property for 65 months to perform the planned environmental




4
         In common terms, calculating the value by comparing the Property to similar properties.

                                                  7
    Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1704 Filed 07/01/16 Page 12 of 29




remediation is $72,964.5 Ex. L, Genzink Rep. at. 47-49. Newell expects the remediation to take

place in phases and, if the Court decides that Kirsch has been or will be injured by Newell

accessing the Property and that it has suffered or will suffer damages as a result of Newell

accessing the Property, a reasonable estimate of the costs of a license to access the Property is as

follows:


                           Engineering and Design             $148
                           Phase 1                          $18,056
                           Phase 2                          $44,992
                           Phase 3                      +    $9,768
                           Total                            $72,964


        E.     Kirsch’s Alleged Losses Far Exceed the Property’s Value and What is
               Recoverable Under Michigan Law.

        Despite the realities of the Sturgis market, described above, Kirsch continues to pursue

categories of damages that are unmoored from the Court’s grant of access and are exponentially

higher than the Property’s appraised value. See supra at 7. On December 7, 2015, Kirsch served

its Supplemental Rule 26(a)(1) Initial Disclosures, identifying claimed damages totaling nearly

$8.5 million, including the following “potential losses resulting from Newell’s ongoing need to

access the Property”:

        Lost Tax Credits/Incentives

               Brownfield Redevelopment MBT Credit                                   $1,690,000.00

               New Markets Tax Credit (39% of total allocation)                      $4,212,000.00

               Brownfield TIF Reimbursement (6 years off the end of
               payment period)                                                       $1,011,901.00


5
        Kirsch has not presented any evidence whatsoever as to the value of the Property, or as to
the reasonable rate for a license to access it. Kirsch has explicitly disclaimed costs associated
with access for tasks like groundwater monitoring. Ex A, Bosgraaf Day 1 at 118:5-119:3.

                                                    8
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1705 Filed 07/01/16 Page 13 of 29




       Loss of Profits / Carrying Costs

               Return on investment for a six-year delay                           $1,070,487.23

               Carrying costs for 6 years                                          $ 150,000.00

               Depreciation on buildout for 6 years (roof, media blasting,         $ 240,000.00
               etc.)

See Ex. N, Kirsch’s Supp. R. 26(a)(1) Initial Disclosures, at 1-2. This disclosure make clear that

Kirsch’s compensation claim extends for the nearly six years prior to the Court’s grant of access

under MCL § 324.20135a(1)(A).

       Kirsch’s claimed categories and amounts of losses have shifted substantially in the weeks

leading up to the filing of this Motion. In March 2016, Kirsch added a category called “Increase

in Construction Costs for 6 year delay,” claiming that construction costs for the development

project had increased $2,181,220.00 since 2010, despite a global recession and a near-collapse of

the real estate and construction industries during those years. See Ex. O, Second Suppl. Rule

26(a)(1) Disclosures. Kirsch “supplemented” its disclosures a third time on April 11, 2016, in

conjunction with the service of its expert reports, reducing some categories of damages

substantially, increasing others, and adding a new categories of damages for “Loss of DEQ Grant

Funds” resulting in an slight overall increase in damages. See Ex. P, Third Suppl. Disclosures.

       Over the course of a two-week time period, Kirsch’s alleged losses fluctuated by millions

of dollars. On June 12, 2016, Kirsch adjusted its claims downward, after Newell’s expert

established that Kirsch had miscalculated the amounts it could receive in Brownfield TIF

Reimbursement, DEQ Grants, and New Markets Tax Credit Allocations. See Ex. Q, Expert

Report of Richard A. Barr (Barr Rep.) at 5-6, 12, 28; Ex. T, June 12, 2016 Expert Report of

Arthur Siegal (“Second Siegal Rep.”) at 5-11. As of June 12, 2016, Kirsch claimed $4,626,908 in



                                                9
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1706 Filed 07/01/16 Page 14 of 29




lost tax credits and incentives and $4,571,219.31 in lost profits and carrying costs, for a total of

$9,198,127.31. See Ex. T, Second Siegal Rep at 11.

III.   ARGUMENT

       Newell is entitled to summary judgment because there is no material factual dispute

between the parties on the issue of compensation available under the Access Statute. Instead, the

parties have a legal dispute on the issue of compensation:

       •    Newell’s position: The Access Statute does not require the Court to make a
            compensation award; instead the statutory language is permissive, indicating the
            Court has discretion to make an award so the remedy is equitable in nature. Even
            then, the compensation available under the Access Statute is limited to compensation
            caused by the court’s order granting access; i.e., it is akin to damages available under
            the tort of trespass, with the Court’s inquiry focused on (a) the value of the Property;
            and (b) what percentage of the property’s value is affected by the access granted by a
            Court; and

       •    Kirsch’s position: The Access Statue provides compensation for any injury, delay, or
            disruption to the development of the property that arises from the Potentially
            Responsible Party’s need to remediate.

       Kirsch’s theory is legally unsupportable and, for the reasons set forth in greater detail

below, Newell is entitled to summary judgment.

       A.      Standard of Review.

       Summary judgment is appropriate when the record evidence establishes that there is no

genuine issue of material fact and that the moving party is entitled to judgment as a matter of

law. Fed. R. Civ. P. 56(a). The burden is on the moving party to show that no genuine issue of

material fact exists, but that burden may be discharged by pointing out the absence of evidence

to support the nonmoving party’s case. Fed. R. Civ. P. 56(c)(1); Bennett v. City of Eastpointe,

410 F.3d 810, 817 (6th Cir. 2005).




                                                 10
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1707 Filed 07/01/16 Page 15 of 29




       B.      The Access Statute’s Remedies are Equitable, Not Legal.

       The Access Statute is primarily concerned with injunctive relief, i.e. to allow a liable

party to petition a court for “access to the facility in order to conduct response activities.” MCL

§ 324.20135a(1). When such a petition is granted, the relief is an injunction establishing what

amounts to a temporary and limited easement on the property. To prevent obstruction or

interference with this quasi-easement, the legislature included Subsection (b) of the Access

Statute which provides for injunctive relief to “[e]njoin interference with the response activities.”

MCL § 324.20135a(1)(b). So far, everything about the Access Statute is equitable, not legal.

       Compensation under the Access Statute is also equitable – not legal – because it merely

seeks to restore the status quo at the time of the grant of access and not meant to be punitive. See

Chauffeurs, Teamsters & Helpers, Local No. 391 v. Terry, 494 U.S. 558, 570 (1990); SEC v.

Quinlan, 373 F. App’x 581, 587 (6th Cir. 2010). The compensation provision of the Access

Statute exists to limit what otherwise could be an extraordinary power provided under the

preceding grant of an eminent-domain like authority to a Court. This choice to establish an

equitable vehicle is emphasized by the Legislature’s choice to use the word “may” in Subsection

(1) (“the court may . . . provide compensation”). “May,” in contrast to “shall,” is a permissive

word choice, which demonstrates that the Legislature intended for courts to utilize discretionary,

and thereby equitable powers, when it crafted the Access Statute. See, e.g., Manuel v. Gill, 481

Mich. 637, 647-48 (2008) (stating “may” is “permissive,” whereas “shall” is “mandatory”)

(citations omitted).

       C.      Equity Precludes Granting Kirsch “Compensation” Stemming from
               Foreseeable Problems.

       Principles of equity compel the Court to consider the level of diligence Kirsch exercised

leading up to the transaction as part of its examination of what Kirsch could reasonably have

                                                 11
    Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1708 Filed 07/01/16 Page 16 of 29




anticipated at the time the transaction closed. This is particularly true given that Kirsch’s

development plans apparently hinged on there being virtually no interruption to its development

activities, notwithstanding the contamination that Kirsch itself highlighted in its pre-closing

investigation activities.6

         Kirsch offers no testimony to rebut Newell’s evidence that Kirsch knew or should have

known that remediation of the Property would be complex and time-consuming at the time it

purchased the Property. Indeed, Kirsch’s experts – to the extent they have opined – testified that

delays incidental to the CERCLA investigation, characterization, or remediation are predictable.

Kirsch’s environmental consultant admits that Kirsch knew before closing on the Property that

the majority of the soil samples taken by Kirsch’s first environmental consultant exceeded the

cleanup level for TCE for the Superfund site. Ex. C, Westra Dep. at 59:10-18. Once Rose &

Westra was retained, seven of the ten initial samples it took likewise exceeded the Superfund

cleanup level, with six of the samples exceeding the relevant cleanup level by a factor of ten. Id.

at 63:15-64:1. Westra testified that he could not recall reviewing the Sturgis NPL Record of

Decision (“ROD”) to understand whether ongoing Superfund work could complicate site

redevelopment. Id. at 75:25-76:8. He further testified that he “probably” advised Kirsch that

there would be additional investigation performed on the Property as a result of the testing, but




6
        “A court of equity will not relieve a party from the [legal] consequences of a risk which
he voluntarily assumes . . . .” Blunt v. Brown, 37 N.W.2d 671, 673 (Mich. 1949) (internal citation
omitted). Equity “will not permit one to enrich himself at the expense of another by closing his
eyes to what is clear to the rest of mankind. Equity . . . regards that as seen which ought to be
seen, and having so seen, as done that which ought to be done.” Kent v. Klein, 91 N.W.2d 11,
13-14 (Mich. 1958).

                                                 12
    Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1709 Filed 07/01/16 Page 17 of 29




that he could not recall having done so. Id. at 83:12-84:2.7 Kirsch had information before

closing that soil contamination would require significant and lengthy CERCLA response actions

similar to those which had occurred elsewhere at the Sturgis NPL site. See supra at 2-4; see also

Ex. D, Hayter Rep. at Opinion 1.

        Given the iterative nature of CERCLA, Kirsch should have reasonably expected that its

development timeline could be compromised by the pre-existing (if not fully characterized)

environmental conditions at the Property. Kirsch presents no factual evidence countering

Newell’s evidence that Kirsch knew or should have known that the contamination it found on the

Property posed unacceptable risk to groundwater and would require lengthy and significant

response actions under CERCLA. See supra at 2-4. Principles of equity prevent Kirsch from

recovering losses related to conditions it knew existed at the time of purchase.

        D.     Kirsch’s “Interpretation” of the Access Statute Fundamentally Alters Its
               Meaning.

        Kirsch seeks damages that are related to its stalled development, not compensation

related to the access that the Court granted Newell to perform remediation. The Access Statute

provides a procedure under which a court can grant access to land needed for remediation in

exchange for an award of certain compensation.8 In exchange for granting access, Section

324.20135a(1)(a) provides that a Court may require Newell to “[p]rovide compensation to the

property owner . . . for damages related to the granting of access to the property, including


7
       Because Kirsch declined to collect Rose & Westra’s files – a motion to compel
production of which was filed on June 30, 2016 – Newell possess only an incomplete picture as
to what Kirsch knew leading up to the closing.
8
         Section 324.20135a(1) provides that “[a] person who is liable under section 20126 . . .
may file a petition . . . seeking access to the facility in order to conduct response activities
approved by the department.” There is no dispute among the parties that Newell is entitled to
file a petition under this section. ECF No. 1 ¶ 102; ECF No. 8 ¶ 102.

                                                13
    Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1710 Filed 07/01/16 Page 18 of 29




compensation for loss of use of the property.” (Emphasis added.)9 The parties’ main

disagreement in this matter is to what this phrase means: Kirsch gives an expansive reading to

the phrase while Newell’s is narrower.

        Newell submits that its interpretation is the only proper reading of the phrase based on

the following: first, the language the Michigan Legislature chose when it passed this statute; and

second, the clear need for the statute, e.g., to balance the social need to grant access necessary for

site remediation with the private need of individual landowner to quietly enjoy their land. These

issues are discussed in turn.

               1.      A plain reading Section 324.20135a(1) supports that Kirsch’s claims
                       are outside the scope of permissible compensation.

        Section 324.20135(a)(1)(a) requires Newell to “[p]rovide compensation to the property

owner . . . for damages related to the granting of access to the property, including

compensation for loss of use of the property.” There are no cases interpreting this statute.

        The primary goal of statutory interpretation is to give effect to the intent of the

Legislature. Ford Motor Co. v. Woodhaven, 475 Mich. 425, 438, 716 N.W.2d 247 (2006).

“[When] interpreting a statute a court should always turn to one cardinal canon before all others .

. . . [C]ourts must presume that a legislature says in a statute what it means and means in a statute

what it says there.” Conn. Nat'l Bank v. Germain, 503 U.S. 249, 254 (1992). Indeed, “when the




9
        Indeed, it may be that Kirsch misunderstands the language of the statute, which refers to
the “granting of access” and not “access” broadly construed. See ECF No. 8 at Counterclaim,
Count I (“Kirsch is entitled to an order awarding it reasonable compensation for damages related
to Newell’s access to the Property . . . .”). Omitting the phrase “granting of” fundamentally
changes the meaning of the statute. “Courts of equity . . . must apply legislative enactments in
accord with the plain intent of the legislature. An argument that a statute as construed may . . .
work great hardship is one that should be addressed to the legislature rather than the court.” City
of Lansing v. Twp. of Lansing, 97 N.W.2d 804, 809 (Mich. 1959) (citations omitted).

                                                  14
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1711 Filed 07/01/16 Page 19 of 29




words of a statute are unambiguous, then, this first canon is also the last: ‘judicial inquiry is

complete.’” Id.

       Three points are clear from the plain language of the statute:

       First, the statute does not do the following: (1) provide any general authorization to sue

regarding pre-existing losses related to land; (2) modify any time periods imposed by

environmental regulators for the performance of investigation, characterization, or remediation

activities; or (3) provide any concrete property right related to Brownfield tax grants (or anything

else) which could be altered by the modifications of a pre-existing regulatory timeframe.

Kirsch’s claimed damages largely require this subsection to be read as doing one of these things

and thus preserving Kirsch’s expected return on its investment. 10

       The simple language of the relevant subsection makes it clear that it does not provide a

general authorization for damage claims related to a party’s expectations as to when remediation

might be complete.11 The standard canon of interpretation, expressio unius est exclusio alterius

(“the express mention of one thing excludes all others”), drives this point home.12 It

characterizes the general practice that “‘when people say one thing they do not mean something

else.’” Feld v. Robert & Charles Beauty Salon, 435 Mich. 352, 362 (1990) (quoting 2A Sands,

Sutherland Statutory Construction [4th ed.] § 47.24). The plain language of the statute provides

10
        Indeed, it is inarguable that Newell accessing the Property pursuant to the Court’s 2015
order is not the reason why the project has stalled. The development project was stalled long
before the Court ordered access occurred.
11
        Certainly, factual disputes between the parties exist as to why and how remediation could
have occurred. However, concluding that the statute does not provide a general cause of action
related to remediation damages requires neither an evaluation of why Kirsch’s physical
construction activities stopped in 2010, nor any evaluation of whether Newell could or should
have acceded to Kirsch’s demands for broader compensation earlier.
12
     This canon has been described as “a rule of construction that is a product of logic and
common sense.” Hoerstman Gen. Contracting Inc. v. Hahn, 474 Mich. 66, 74 (2006).

                                                  15
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1712 Filed 07/01/16 Page 20 of 29




“compensation for loss of use” only “related to the granting of access.” The Court should follow

the Legislature’s explicit choice to limit damages to those “related to the granting of access.”

          Second, the plain language of the stature provides that any damages must be “related to

the granting of access,” and not to “access” generally. Michigan courts, like courts elsewhere,

use dictionaries to evaluate the meaning of legislative acts. See, e.g., Wheaton v. McCarthy, 800

F.3d 282, 287 (6th Cir. 2015) (“In determining [a term’s ordinary] meaning, dictionaries are a

good place to start” (internal quotation marks omitted)). “Related” means “connected by a

reason of an established or discoverable relation.” See Merriam-Webster Dictionary, located at

http://www.merriam-webster.com/dictionary/related. In turn, “granting of access,” building on

the preceding subsection of the statute, relates to court involvement, fitting in with the whole of

the statutory subsection. Interconnected statutory language is to be read as part of a common

legislative framework. Waltz v. Wyse, 460 Mich. 642, 665-66 (2004). Kirsch’s claimed damages

run back six years before Newell’s Complaint initiated this case. Damages occurring years

before an event cannot be said to be “related” to it.13

          Kirsch has not shown that its claimed damages were caused by the Court granting Newell

access to the Property in 2015,14 or that it will suffer damages in the future as a result of the

Court’s access order. If Kirsch is allowed to recover damages unrelated to the grant of access,




13
          Kirsch halted all physical construction activities at the Property by winter 2010. ECF No.
8 ¶ 44.
14
        Indeed, Kirsch denies that it has suffered any damages as a result of the physical grant of
access. Ex. A, Bosgraaf Day 1 at 118:5-119:3.

                                                  16
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1713 Filed 07/01/16 Page 21 of 29




then the statute essentially has no time limitation, which cannot be what the Legislature intended

because it materially alters the function of the statute.15

        Third, the Legislature intentionally positioned the phrase “compensation for loss of use”

subordinate to a “grant of access.” When “interpreting a statute, we [must] avoid a construction

that would render part of the statute surplusage or nugatory.’” Robinson v. City of Lansing, 486

Mich. 1, 21 (2010) (citation omitted) (alterations in original). Kirsch’s claimed damages require

the Court to replace the primary phrase “granting of access” with the subordinate phrase,

“compensation for loss of use.” Doing this effectively cuts the phrase “the granting of access”

from the relevant subsection.16 This is inherently improper, and Kirsch’s claimed damages that

flow from it must fail as a matter of law.

                2.      The context in which Section 324.20135a(1) was enacted likewise
                        renders Kirsch’s claimed damages outside those which are available.

        A second factor favoring Newell’s construction of this subsection is that it represents

what amounts to a change to the common law of trespass to balance the quasi-eminent domain

aspects of the broader Access Statute, and should thus be construed narrowly. E.g., Nation v.

W.D.E. Elec. Co., 454 Mich. 489, 504 (1997) (citing cases). Courts assume that the Legislature

acts deliberately when it changes pre-existing common law rights and obligations; courts are not

to add additional progressive policy preferences into the mix. Id. (“Where there is doubt

15
       Indeed, “caused” would be an inappropriate term in this circumstance because the
proximate “cause” of events like groundwater monitoring or installation of a remediation system
would not be “granting of access,” it would likely be a suggestion by regulators that the event
should happen. “Related to the granting of access” may be the narrowest plausible term because
“granting of access” subsumes the regulatory demand (i.e. “[a] person who is liable under section
20126 . . . may file a petition”) generating liability in MCL Section 324.20135a(1).
16
       The Court’s Order on Stay, ECF No. 48, notes that “‘loss of use of property’ . . . is fairly
open-ended.” Id. at 3. While the phrase may be rendered open-ended when out of context, the
Legislature structured the subsection’s provisions – and made grammatical choices related to
324.20135a(1) – which render it more narrow, and not ambiguous, when read in its context.

                                                  17
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1714 Filed 07/01/16 Page 22 of 29




regarding the meaning of such a statute, it is to be given the effect which makes the least rather

than the most change in the common law”) (internal citation omitted). If the Legislature wanted

– as Kirsch would have it – to create a new tort which could result in damages exponentially

higher than the value of the land and with no temporal limitation – something unique among

causes of action – it would have said so. It didn’t.

        The Access Statute is an equitable statute with one provision that allows for limited

reimbursement related to access granted under the Access Statute. Awarding Kirsch’s claimed

damages would require the Court to allow damage claims which are supported only by the

inference that some access to the Property might someday be necessary. These “might someday

access” damages are fundamentally at odds with damages typically awarded at trespass, which

are – for a permanent trespass – the diminution in value of the property itself, as represented by

the value without the encroachment minus the value with the encroachment. See Kratze v. Indep.

Order of Oddfellows, Garden City Lodge No. 11, 442 Mich. 136, 150 (1993); see also Bayley

Prods., Inc. v. Am. Plastic Prods. Co., 30 Mich. App. 590, 598 (1971) (“It is the settled law of

[Michigan] that the measure of damages to real property, if permanently irreparable, is the

difference between its market value before and after the damage . . . [I]f the injury is reparable,

and the expense of repairs is less than the market value, the measure of damage is the cost of the

repairs.”).

        Here, the “damage” caused by Newell’s access to the Property – and not by

contamination Kirsch should have realized posed a burden to its development schedule – is

limited in scope such that Kirsch claims Newell’s access since September has not injured it. See

fn.14. Accordingly, it should be treated like a minor encroachment, and Kirsch should be

awarded, at most, the value of a license granted to Newell to use the land for the sole and


                                                 18
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1715 Filed 07/01/16 Page 23 of 29




temporary purpose of completing the remediation, which Newell’s expert has estimated to be

$72,964 (which Kirsch has presented no evidence to rebut). See Kratze, 442 Mich. at 151

(awarding trespass plaintiff only the value of the 1.2 square feet of land covered by the

encroachment where “the encroachment did not devalue the property.”).

       Alternatively, Kirsch’s damages should be capped as the difference between the value of

the land prior to granting access to Newell and the value of the land after granting access to

Newell. See Kratze, supra; see also Szymanski v. Brown, 221 Mich. App. 423, 430-31, 562

N.W.2d 212, 216 (1997) (“Damages in an action for trespass to land generally are measured by

the difference between the value of the land before the harm and the value after the harm.”).

Again, Kirsch has not offered any evidence that Newell’s accessing the Property has diminished

the value of the Property and, accordingly, Newell is entitled to summary judgment under this

measure of damages.

       E.      Kirsch’s Alleged Lost Profits and Incentives Damages Are Too Speculative to
               be Awarded as a Matter of Law.

       Summary judgment also is appropriate for the separate reason that Kirsch’s alleged

damages all assume the speculative success of a hypothetical development that will take years to

complete. Even if those damages were recoverable as “compensation” under the Access Statute

(they are not), Kirsch’s alleged damages are too speculative to be recovered under Michigan law.

       In Michigan, damages must be proven “subject to a reasonable degree of certainty” and

“cannot be based solely on mere conjecture or speculation.” Dehna v. Jacob, 179 Mich. App.

545, 549 (1989) (citing Bonelli v. Volkswagen of America, Inc., 166 Mich. App. 483, 511

(1988)). “A court should grant summary judgment if a plaintiff has not presented evidence to

take the fact of lost profits beyond the realm of speculation.” Fredonia Farms, LLC v. Enbridge

Energy Partners, L.P., No. 12-CV-1005, 2014 WL 3573723, at *9 (W.D. Mich. July 18, 2014)

                                                19
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1716 Filed 07/01/16 Page 24 of 29




(Quist J.) (citing Murray v. Wolverine Pipe Line Co., No. 257121, 2005 WL 3556148, at *2

(Mich. Ct. App. Dec. 29, 2005)). As explained below, the Court should grant summary

judgment to Newall on Kirsch’s damages claims.

       Fredonia Farms is instructive. In that case, the court granted summary judgment to

defendant in a negligence and nuisance action on the issue of whether the developer plaintiff

could recover lost profits after an oil spill prevented him from developing his land into a

community vineyard. In so holding, the court stated that:

       In the end, the Zinnyard was simply a novel concept that did not have the chance
       to develop. The Zinnyard had not obtained necessary permits, begun construction,
       planted a single grape, or made a single sale. The Court recognizes that Plaintiffs
       lost the opportunity to develop that concept through no fault of their own.
       However, even if Plaintiffs were “robbed of the opportunity forever to attain the
       profits that [they] would have made from selling parcels, selling homes, and
       running a series of operating businesses,” as Falanga has asserted . . . that does
       not necessarily mean that they may be compensated for the loss of that
       opportunity. To obtain damages for their lost opportunity, Plaintiffs must
       demonstrate with reasonable certainty that the project would have gone to
       market, and that it would have been profitable. They have not done so.

Fredonia Farms, 2014 WL 3573723, at *8 (emphasis added); see also Joerger v. Gordon Food

Serv., Inc., 568 N.W.2d 365, 369-70 (Mich. App. 1997) (“If the business . . . has not had such a

history as to make it possible to prove with reasonable accuracy what its profits have been in

fact, the profits prevented are often but not necessarily too uncertain for recovery.”) (citation

omitted); Booker v. Ralston Purina Co., 699 F.2d 334, 336 (6th Cir. 1983) (No recovery for lost

profits where “[n]ot unlike a new business, the product had yet to prove itself as a winner and

therefore profitable.”) (applying Tenn. Law).

       Similarly, Kratze involved a trespass lawsuit by a plaintiff developer who sought

damages, including alleged losses from his inability to develop his property, as result of

defendant’s trespass. The Michigan Supreme Court stated that a landowner could not recover for


                                                 20
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1717 Filed 07/01/16 Page 25 of 29




lost profits from the potential development because “damages based on a business not yet in

existence, should not have been awarded.” See Kratze, 442 Mich. at 151 n.16 (emphasis added).

       Like the plaintiffs in Kratze and Fredonia, Kirsch has failed to demonstrate its alleged

lost profits and other damages stemming from the operation of a non-existent business with

reasonable certainty. Kirsch’s alleged damages claims are based on the speculative premises that

(1) Kirsch Lofts would have been built absent Newell’s need for access; and (2) Kirsch Lofts

would have been commercially successful. See, e.g., Ex. P, Third Suppl. Disclosures (claiming

nearly $6 million damages based on lost tax credits and incentives); Ex. T, Second Siegal Report

at 11 (claiming $4.6 million in damages based on lost tax credits and incentives); see also Ex. S,

April 11, 2016 Expert Report of Arthur Siegal (“First Siegal Rep.”) at 3 (loss of credits opinion

assumes that Kirsch Lofts had in 2010-2012 and has now the financial wherewithal to do cut the

intended redevelopment work at the property); Ex. T, Second Siegal Rep. at 3 (same).

       Arthur Siegal, Kirsch’s expert, admitted that a development like Kirsch Lofts must be

commercially successful in order to realize the credits and incentives that make up the bulk of

Kirsch’s damages claims:

       [D]evelopers can got out and rehab buildings or sites but if they are in locations
       that no one wants to be in ultimately the incentives, the credits, all those
       programs are not going to make the product or the project necessarily
       profitable.

Ex. U, Arthur Siegal Dep. Tr. (“Siegal Dep.”) at 39:21-25 (emphasis added); see also id. at

56:10-14 (admitting developers do not know how many MBT credits they will receive until

construction is complete).

       However, Kirsch has presented no evidence that its proposed development was in a

“location [anyone] wants to be in,” or that it otherwise would have been successful (or even

completed) absent Newell’s need for access. To the contrary, Mr. Bosgraaf could not point to
                                                21
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1718 Filed 07/01/16 Page 26 of 29




any market studies or other analysis supporting the viability of the proposed development. See,

e.g., Ex. A, Bosgraaf Day 1 at 32:13-25 (Mr. Bosgraaf admitted that he had no knowledge of

Kirsch’s target market or demographics); see also id. at 37:15:22 (Mr. Bosgraaf did not know

whether a public bus ran through the proposed development).17 He also admitted that at least

three of his last six condo developments have been foreclosed upon, casting serious doubt on his

ipse dixit assertions that the project would have been successful. See id. at 34:20-36:4l; see also

Fredonia Farms, 2014 WL 3573723, at *8 (“Whether Plaintiffs would have successfully

completed all the steps necessary to open the Zinnyard and found buyers, let alone made the

whole development profitable, is a matter of pure speculation.”).

       For his part, Siegal repeatedly admitted he did nothing to verify Kirsch’s assertions

regarding the hypothetical success of the project. See Ex. U, Siegal Dep.at 23:5-11 (did not ask

to see any financial documents supporting the assumption that Kirsch had the financial

wherewithal to complete the development); id. at 196:12-16, 199:120-200:4 (did not verify that

Kirsch had obtained capital investment necessary for receipt of New Market Tax Credits); id. at

56:10:14 (did not verify that Kirsch would have had maximum number of eligible investments

under MBT credit pre-approval); 158:18-24 (did not verify that certain tax abatements had been

approved). Such baseless “expert” testimony cannot create “reasonable certainty” under

Michigan law. See, e.g., Murray, 2005 WL 3556148, at *2 (reasonable certainty not created by

the “the affidavit of a certified public accountant averring that Murack Lodge ‘would have been

profitable’ during the eighteen-month period during which its opening was allegedly delayed by

defendant's negligence” where “[t]he affidavit, however, is devoid of any evidence to support

17
         Kirsch did produce market studies conducted by the City of Sturgis. See Ex. A, Bosgraaf
Day 1, at 22:16-23. However, Kirsch has presented no testimony explaining how those studies
link to the purported profitability of the proposed development. See id.

                                                22
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1719 Filed 07/01/16 Page 27 of 29




such a conclusion . . . and plaintiffs presented no other data to support their claim that Murack

Lodge would have been profitable during the period in question.”); see also Fredonia Farms,

2014 WL 3573723, at *8 (reasonable certainty standard not met where “Plaintiffs have failed to

provide a single market study demonstrating that they would have been able to find buyers for

the Zinnyard lots.”).

        Kirsch has likewise failed to rebut the extensive evidence presented by Newell that casts

serious doubt as to the development’s potential for success, particularly given the minimal

demand for condos in Sturgis. See supra at 6-7; see also Ex. L, Genzink Rep. at 30 (“From 2007

to 2015 there are has been no new construction, and minimal demand for residential

condominium units” and Kirsch’s proposed asking price “is significantly greater than the

residential condominium sales that have sold in the City of Sturgis”); id. (Genzink does “not

expect a significant improvement to the residential condominium market in the foreseeable

future.”); id. at 32 (“[Kirsch’s] proposed rent will exceed the market rents from 2010 to 2015 and

the proposed units will likely remain vacant during that period.”); id. at 35 (“there has been

minimal new demand for commercial and office use in the City of Sturgis[.]”); id. at 39 (“The

primary demand generator for real estate development is the increase in population and

household income … [T]he City of Sturgis population and median household income from 2015

to 2020 will have minimal growth.”); id. at 39-40 (the highest and best use of the Property “is to

hold for future redevelopment.”). Kirsch’s failure to rebut, or even address, Genzink’s testimony

leaves open no issue of material fact as to the potential success of the Property and, thus, as to

Kirsch’s (lack of) entitlement to damages tied thereto.

       Finally, even if the project had been successful (and Kirsch has presented no evidence

that it would have been), Newell has presented evidence that the hypothetical credits and


                                                 23
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1720 Filed 07/01/16 Page 28 of 29




incentives to which Kirsch claims it would be entitled are worth far less than Kirsch says they

are. See, e.g., Ex. Q, Barr Rep. at 8-10 (Siegal overstates eligible investment for MBT credits);

id. at 11-12 (Siegal overstates sale value of MBT credits); id. at 19-20 (Siegal overstates taxable

value for purposes of Brownfield TIF calculations)18; id. at 31-32 (Siegal failed to account for

transactional costs in calculating NTMCs). Indeed, with respect to New Market Tax Credits,

Kirsch’s proposed development cannot even legally qualify. See Ex. R, Barr Suppl. Rep. at 5

(“A project that has a construction period extending over six years will not qualify for New

Markets Tax Credits because it won’t satisfy the requirement of Treas. Reg. §1.45D-

1(c)(5)(iv).”).

        In short, Kirsch has not, and cannot, establish its damages claims with reasonable

certainty under Michigan law. Accordingly, no material issue of fact exists with respect to the

issue of damages and summary judgment should be granted to Newell.

        F.        The Court Should Enter Judgment in Newell’s Favor Because Kirsch Has
                  Failed to Present Any Evidence of Recoverable Damages.

        Kirsch, had its opportunity to state a valid claim for compensation but chose not to do so.

Because Kirsch has not proven that his claimed damages flow from the Court granting Newell

access to the Property in 2015, the Court should enter judgment in Newell’s favor. Alternatively,

the Court should award Kirsch a damages figure that is commensurate with the amount for a 65-

month license to access the Property for the estimated time that it will take to perform the

environmental remediation: $72,964.00.


18
        During his deposition in this matter, Siegal admitted that the TIF Schedule and the
corresponding Reimbursement Schedule on which he relied contained numerous errors and that
the lost TIF Financing damages estimate in the Second Siegal Report needed to be revised to
correct those errors, which Siegal admitted are “not inconsequential.” Ex. U, Siegal Dep. at
189:9-13 (errors “not inconsequential); 183: 11-19; 187:18-188:1 (TIF Financing opinion is “not
accurate” and “does need to be revised.”).

                                                24
 Case 1:15-cv-00597-RJJ ECF No. 88, PageID.1721 Filed 07/01/16 Page 29 of 29




IV.   CONCLUSION

      For the reasons set forth herein, and for such other reasons as may be apparent to the

Court, Newell’s Motion for Summary Judgment Should be granted.

      Respectfully submitted this 1st day of July 2016.

                                                   SCHIFF HARDIN LLP
                                                    /s/ J. Michael Showalter
                                                   Gabriel M. Rodriguez
                                                   grodriguez@schiffhardin.com
                                                   Joshua More
                                                   jmore@schiffhardin.com
                                                   J. Michael Showalter
                                                   mshowalter@schiffhardin.com
                                                   233 South Wacker Drive, Suite 6600
                                                   Chicago, IL 60606
                                                   Phone: (312) 258-5500
                                                   Facsimile: (312) 258-5600


                                                   Attorneys for Plaintiff




                                              25
